Case 4:19-cv-00466-SDJ-KPJ Document 37 Filed 01/28/20 Page 1 of 2 PageID #: 152



                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF EASTERN TEXAS
                             SHERMAN DIVISION


KARY LYMAN,                                   Case No. 4:19-cv-00466-SDJ
              Plaintiff,
       v.

KOHLS DEPARTMENT STORES, INC.,
            Defendant.




       NOTICE IS HEREBY GIVEN that Plaintiff, Kary Lyman, and Defendant Kohls

Department Stores, Inc., have settled all claims between them in this matter. The parties

are in the process of completing the final settlement documents and expect to file a

Stipulation of Dismissal within the next sixty (60) days. Plaintiff requests that the Court

vacate all pending deadlines and hearings in this matter as to Defendant Kohls

Department Stores, Inc.


              Respectfully submitted this 28th day of January 2020,

                                                         By:/s/Lisbeth K. Findsen .
                                                         Lisbeth K. Findsen, AZ #023205
                                                         PRICE LAW GROUP, APC
                                                         8245 N 85th Way
                                                         Scottsdale, AZ 85258
                                                         T: (818) 600-55 75
                                                         F: (818) 600-54 75
                                                         E: beth @pricelawgroup.com
                                                         Attorneys for Plaintiff,
                                                         Kary Lyman




                                                   -1-
Case 4:19-cv-00466-SDJ-KPJ Document 37 Filed 01/28/20 Page 2 of 2 PageID #: 153



                             CERTIFICATE OF SERVICE


       I hereby certify that on January 28, 2020, I electronically filed the foregoing with

the Clerk of the Court using the ECF system, which will send notice of such filing to all

attorneys of record in this matter.

William C. Petit
Attorney-In-Charge Texas Bar No. 24042289
Federal ID No. 695469
KELLEY DRYE
515 Post Oak Blvd., Suite 900
Houston, Texas 77027
T: (713) 355-5000
F: (713) 355-5001
E: wpetit@kelleydrye.com

Bridget M. Polloway (admitted pro hac vice)
Vincent P. Rao II (admitted pro hac vice)
Kelley Drye & Warren LLP
One Jefferson Road, 2nd Floor
Parsippany, NJ 07054
Tel: (973) 503-5900
Fax: (973) 503-5950
Email: bpolloway@kelleydrye.com
vrao@kelleydrye.com

Attorneys for Defendant
Kohl’s Department Stores, Inc.
/s/Natalie McGuire




                                              -2-
